                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


CAITLIN O’CONNOR,                                )
                                                 )
        Plaintiff,                               )
                                                 )        NO. 3:20-cv-00628
v.                                               )        JUDGE RICHARDSON
                                                 )
THE LAMPO GROUP, LLC,                            )
                                                 )
        Defendant.                               )
                                                 )


                                            ORDER

        Because of the pending motion for summary judgment (Doc. No. 66), the pretrial

conference set for March 28 2022, and the jury trial set for April 5, 2022, are canceled, to be

rescheduled, if appropriate, once the Court rules on the dispositive motion.

        IT IS SO ORDERED.



                                             ____________________________________
                                             ELI RICHARDSON
                                             UNITED STATES DISTRICT JUDGE




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